 NameCase 2:20-cr-00418-SB
     & Address:                       Document 494           Filed 01/28/25    Page 1 of 1 Page ID #:4132
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:
  United States
                                                                               20-cr-00418-SB-1
                                              PLAINTIFF(S)
                              v.
  John Paul Thropay, MD                                                 NOTICE OF MANUAL FILING
                                                                              OR LODGING
                                            DEFENDANT(S).

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  1-28-2025                                                      Anthony M. Solis, Esq.
  Date                                                           Attorney Name
                                                                 John Paul Thropay, MD
                                                                 Party Represented


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